      Case 1:21-cr-10023-BCB Document 52-1 Filed 10/01/21 Page 1 of 8 PageID #: 489




      110 N. Minnesota Ave , Suite 400                909 Saint Joseph Street, Suite 800              311 N. 27th Street, Suite 4
            Sioux Falls, SD 57104                            Rapid City, SD 57701                        Spearfish, SD 57783
  Phone (605) 332-5999 • Fax (605) 332-4249       Phone (605) 342-2592 • Fax (605) 342-5185   Phone (605) 722-9000 • Fax (605) 722-9001




                                                 REPLY TO: Rapid City Office
                                              From the offices of Cassidy M. Stalley
                                               e-mail address: cstalley@lynnjackson.com
                                                 Sender's Direct Line: 605-791-6488



                                                       September 29, 2021

VIA E-MAIL ONLY (scott@janklowabdallah.com)
Mr. Scott A. Abdallah
Johnson, Janklow, Abdallah & Reiter LLP
101 South Main Avenue, Suite 100
PO Box 2348
Sioux Falls, SD 57101-2348

VIA E-MAIL ONLY (mjackley@gpna.com)
Mr. Marty J. Jackley
Gunderson, Palmer, Nelson & Ashmore, LLP
111 W. Capitol Avenue, Suite 230
Pierre, SD 57501

VIA E-MAIL ONLY (ron@janklowabdallah.com)
Mr. Ronald A. Parsons, Jr.
Johnson, Janklow, Abdallah & Reiter, LLP
PO Box 2348
Sioux Falls, SD 57101-2348

Re:     U.S. v Kilgallon, et al.
        Court File No. 1:21-cr-10023-BCB
        Our File No. 210119-00001

Dear Counsel:

Enclosed please find the subpoenas that were served today regarding Mr. Houghtaling and Mr.
Mosteller’s cell phone records.


                                                                                                                               A
   Case 1:21-cr-10023-BCB Document 52-1 Filed 10/01/21 Page 2 of 8 PageID #: 490


Mr. Scott A. Abdallah
Mr. Marty J. Jackley
Mr. Ronald A. Parsons, Jr.
September 29, 2021
Page 2


We will provide you with copies of the information we receive.

Sincerely,

LYNN, JACKSON, SHULTZ & LEBRUN, P.C.



Cassidy M. Stalley

CAS:smb
Enclosures
Case 1:21-cr-10023-BCB Document 52-1 Filed 10/01/21 Page 3 of 8 PageID #: 491




                          UNITED STATES DISTRICT COURT
                           DISTRICT OF SOUTH DAKOTA
                               NORTHERN DIVISION


UNITED STATES OF AMERICA,                           Case No. 1:21-cr-10023-BCB

             Plaintiff,

vs.                                             SUBPOENA DUCES TECUM TO
                                                    VERIZON WIRELESS
JOHN KILGALLON, DANIEL C.
MOSTELLER and STEPHEN
HOUGHTALING,

             Defendants.


TO:   Verizon
      Attn: VSAT
      180 Washington Valley Road
      Bedminster, NJ 07921
      Fax: 1.888.667.0028

      You are hereby commanded and required to produce to the law offices of Lynn,
Jackson, Shultz & Lebrun, P.C., 909 Saint Joseph Street, Suite 800, Rapid City, SD
57701, on or before October 13, 2021, by 5:00 p.m., the following named document now
in your custody, under your control, or retained by your company and/ or agents or
employees:

      1.     A list or report of all incoming and outgoing calls, call detail, text
             messages, picture detail, and internet sessions for cellular telephone number
             (605)            , from March 1, 2021 to May 12, 2021, including the times
             of usage initiated and duration of use.

       ISSUED this 29th day of day of September, 2021, on behalf of the Honorable
Brian C. Buescher of the United States District Court, District of South Dakota, Northern
Division.
Case 1:21-cr-10023-BCB Document 52-1 Filed 10/01/21 Page 4 of 8 PageID #: 492




     Dated this 29th day of September, 2021.

                                   LYNN, JACKSON, SHULTZ & LEBRUN, P.C.


                                   By: /s/ Cassidy M. Stalley
                                       Cassidy M. Stalley
                                       Thomas G. Fritz
                                       Special Prosecutor for the United States of
                                       America
                                       909 St. Joseph Street, Suite 800
                                       Rapid City, SD 57701-3301
                                       (605) 342-2592
                                       cstalley@lynnjackson.com
                                       tfritz@lynnjackson.com




                                         2
Case 1:21-cr-10023-BCB Document 52-1 Filed 10/01/21 Page 5 of 8 PageID #: 493




                             CERTIFICATE OF SERVICE

      I hereby certify that on September 29, 2021, I sent to:

      Verizon
      Attn: VSAT
      180 Washington Valley Road
      Bedminster, NJ 07921
      Fax: 1.888.667.0028

by facsimile transmission, a true and correct copy of the Subpoena Duces Tecum to
Verizon Wireless relative to the above-entitled matter.

The undersigned further certifies that on September 29, 2021, I caused the foregoing
document to be served electronically via e-mail upon the following:

Mr. Ronald A. Parsons, Jr.                      Mr. Scott A. Abdallah
Johnson, Janklow, Abdallah & Reiter, LLP        Johnson, Janklow, Abdallah & Reiter LLP
PO Box 2348                                     PO Box 2348
Sioux Falls, SD 57101-2348                      Sioux Falls, SD 57101-2348
ron@janklowabdallah.com                         scott@janklowabdallah.com

Mr. Marty J. Jackley
Gunderson, Palmer, Nelson & Ashmore,
   LLP
111 W. Capitol Avenue, Suite 230
Pierre, SD 57501
mjackley@gpna.com

                                      /s/ Cassidy M. Stalley
                                      Cassidy M. Stalley




                                            3
Case 1:21-cr-10023-BCB Document 52-1 Filed 10/01/21 Page 6 of 8 PageID #: 494




                          UNITED STATES DISTRICT COURT
                           DISTRICT OF SOUTH DAKOTA
                               NORTHERN DIVISION


UNITED STATES OF AMERICA,                           Case No. 1:21-cr-10023-BCB

             Plaintiff,

vs.                                             SUBPOENA DUCES TECUM TO
                                                    VERIZON WIRELESS
JOHN KILGALLON, DANIEL C.
MOSTELLER and STEPHEN
HOUGHTALING,

             Defendants.


TO:   Verizon
      Attn: VSAT
      180 Washington Valley Road
      Bedminster, NJ 07921
      Fax: 1.888.667.0028

      You are hereby commanded and required to produce to the law offices of Lynn,
Jackson, Shultz & Lebrun, P.C., 909 Saint Joseph Street, Suite 800, Rapid City, SD
57701, on or before October 13, 2021, by 5:00 p.m., the following named document now
in your custody, under your control, or retained by your company and/ or agents or
employees:

      1.     A list or report of all incoming and outgoing calls, call detail, text
             messages, picture detail, and internet sessions for cellular telephone number
             (605)            , from March 1, 2021 to May 12, 2021, including the times
             of usage initiated and duration of use.

       ISSUED this 29th day of day of September, 2021, on behalf of the Honorable
Brian C. Buescher of the United States District Court, District of South Dakota, Northern
Division.
Case 1:21-cr-10023-BCB Document 52-1 Filed 10/01/21 Page 7 of 8 PageID #: 495




     Dated this 29th day of September, 2021.

                                   LYNN, JACKSON, SHULTZ & LEBRUN, P.C.


                                   By: /s/ Cassidy M. Stalley
                                       Cassidy M. Stalley
                                       Thomas G. Fritz
                                       Special Prosecutor for the United States of
                                       America
                                       909 St. Joseph Street, Suite 800
                                       Rapid City, SD 57701-3301
                                       (605) 342-2592
                                       cstalley@lynnjackson.com
                                       tfritz@lynnjackson.com




                                         2
Case 1:21-cr-10023-BCB Document 52-1 Filed 10/01/21 Page 8 of 8 PageID #: 496




                             CERTIFICATE OF SERVICE

      I hereby certify that on September 29, 2021, I sent to:

      Verizon
      Attn: VSAT
      180 Washington Valley Road
      Bedminster, NJ 07921
      Fax: 1.888.667.0028

by facsimile transmission, a true and correct copy of the Subpoena Duces Tecum to
Verizon Wireless relative to the above-entitled matter.

The undersigned further certifies that on September 29, 2021, I caused the foregoing
document to be served electronically via e-mail upon the following:

Mr. Ronald A. Parsons, Jr.                      Mr. Scott A. Abdallah
Johnson, Janklow, Abdallah & Reiter, LLP        Johnson, Janklow, Abdallah & Reiter LLP
PO Box 2348                                     PO Box 2348
Sioux Falls, SD 57101-2348                      Sioux Falls, SD 57101-2348
ron@janklowabdallah.com                         scott@janklowabdallah.com

Mr. Marty J. Jackley
Gunderson, Palmer, Nelson & Ashmore,
   LLP
111 W. Capitol Avenue, Suite 230
Pierre, SD 57501
mjackley@gpna.com

                                      /s/ Cassidy M. Stalley
                                      Cassidy M. Stalley




                                            3
